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United States of America DOCKET NO. § F A LE D
V. :

Joshua Joel PRATCHARD MAGISTRATE'S CASE NO.

XX/XX/1980 19-O3091N J

 

 

 

Complaint for violation of Title 18, United States Code §§ 922(g)(1) and 922(a)(5)

 

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

Count 1: On or about April 14, 2018, at or near Tucson, in the District of Arizona, JOSHUA JOEL PRATCHARD,
having previously been convicted of crimes punishable by imprisonment for a term exceeding one year; that is:
Assault Resulting in Serious Bodily Injury, in Federal District Court in the Northern District of California, case
number CR-08-00553-001 MMC, on or about October 21, 2009, and a Violation of the UCM] Article 134 Unlawful
Use and Distribution of Methylenedioxymethamphetamine (ecstasy) under a General Court Martial, case number
NMCCA, on or about April 9, 2002, did knowingly possess a firearm, that is a 9mm short-barrel rifle, said firearm
being in and affecting commerce in that it was transported into the state of Arizona from another state or foreign
country; in violation of Title 18, United States Code, Section 922(g)(1) and 924(a)(2).

Count 2: On or about April 14, 2018, at or near Tucson, in the District of Arizona, JOSHUA JOEL PRATCHARD,
who was not licensed to deal, import, manufacture, or collect firearms, did willfully transfer and sell to another
individual, who also was not licensed to deal, import, manufacture, or collect firearm, a firearm, knowing or having
reasonable cause to believe that the person receiving the firearm resided in a state other than PRATCHARD did, in
violation of Title 18, United States Code, Section 922(a)(5).

 

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BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

On April 14, 2018, near Tucson, Arizona JOSHUA JOEL PRATCHARD, who has previously been convicted of
crimes punishable by imprisonment for a term exceeding one year, that is Assault Resulting in Serious Bodily Injury,
in Federal District Court in the Northern District of California, case number CR-08-00553-001 MMC, on or about
October 21, 2009, and a Violation of the UCMJ Article 134 Unlawful Use and Distribution of
Methylenedioxymethamphetamine (ecstasy) under a General Court Martial, case number NMCCA, on or about April
9, 2002, knowingly possessed a firearm which was transported into the state of Arizona from another state. An ATF
firearms interstate nexus expert confirmed that there was no record of the firearm. Agents helieve the-serial number

efthe-firearmPRATCHARD-possessed_is-fake. Investigation has revealed that the firearm was manufactured in
California, where PRATCHARD lives, and transported into the state of Arizona by PRATCHARD, thereby

affecting interstate or foreign commerce. Investigators were unable to locate any documents which indicated that
PRATCHARD had applied for or had his civil rights restored. Furthermore, on April 14, 2018, PRATCHARD,
who was not licensed to deal, import, manufacture or collect firearms, willfully transferred, sold, traded, gave,
transported or delivered a firearm to another individual, who also was not licensed to deal, import, manufacture or
collect firearms. The individual receiving the firearm resided in a state other than PRATCHARD.

MATERIAL WITNESS(ES) IN RELATION TO THE CHARGE:

 

 

 

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DETENTION REQUESTED SIGNA OF COMPLAINANT
COMPLAINT REVIEWED by AUSA Beverly K. Anderson ZF
Being duly sworn, I declare that the foregoing is OFF ICIS. TITLE & NAME:
true and correct to the best of my knowledge. FBI Special Agent Ryan T. McGee

 

Sworn to before me and subscribed in my presence.

 

 

 

 

 

” See Federal rules of Criminal Procedure Rules 3 and 54
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SIGNATI F MAGISTRATE JUDGE” DATE
Xabi, A, Bouman May 25, 2018
